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 2
                                   UNITED STATES DISTRICT COURT
 3
                                          DISTRICT OF NEVADA
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 5
       United States of America,                          Case No. 2:24-cr-00204-APG-DJA
 6
                             Plaintiff,
 7                                                                           Order
             v.
 8
       Haiyan Liao,
 9
                             Defendant.
10

11           Before the Court is Defendant Haiyan Liao’s unopposed motion for leave to obtain copies

12    of sealed documents from the Eastern District of New York, the district from which Defendant’s

13    probation supervision was transferred. (ECF No. 25). Defendant’s counsel explains that her

14    opening appellate brief is due on March 3, 2025, and that she requires certain sealed documents

15    from the Eastern District of New York docket to make that appeal. Defendant’s counsel requests

16    that the Court provide these documents to both Defendant’s counsel and counsel for the

17    Government. The Court grants the motion.

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     Case 2:24-cr-00204-APG-DJA          Document 26        Filed 02/13/25     Page 2 of 2




 1           IT IS THEREFORE ORDERED that Defendant’s motion for copies of the Eastern

 2    District of New York’s sealed documents (ECF No. 25) is granted.

 3           IT IS FURTHER ORDERED that the Clerk’s Office is kindly directed to email the

 4    Eastern District of New York’s Clerk’s Office with a copy of this order and request a copy of the

 5    following sealed documents in the Eastern District of New York case, United States v. Liao, No.

 6    1:20-cr-00500 (E.D.N.Y.):

 7                •   Presentence Investigation Report (PSR) and all its addenda filed at ECF Nos. 75,

 8                    89, 91, and 94.

 9                •   Statement of Reasons filed at ECF No. 106.

10           IT IS FURTHER ORDERED that, once the Clerk’s Office obtains a copy of the

11    documents, the Clerk’s Office is kindly directed to distribute the documents to counsel for the

12    Defendant and counsel for the Government.

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14           DATED: February 13, 2025

15
                                                           DANIEL J. ALBREGTS
16                                                         UNITED STATES MAGISTRATE JUDGE
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